
29 So. 3d 343 (2010)
Shannon WILSON, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D09-3036.
District Court of Appeal of Florida, Fifth District.
January 22, 2010.
Rehearing Denied March 5, 2010.
Shannon Wilson, Chipley, pro se.
Bill McCollum, Attorney General, Tallahassee, and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
JACOBUS, J.
Petitioner, Shannon Wilson, seeks a belated appeal of his judgments and sentences in Citrus County case numbers 2006-CF-1388, 2006-CF-1396, and 2007-CF-195. See Fla. R.App. P. 9.141(c). This Court agrees with the Commissioner's recommendation that the petition be denied.
PETITION DENIED.
SAWAYA and PALMER, JJ., concur.
